

People v Williams (2024 NY Slip Op 06428)





People v Williams


2024 NY Slip Op 06428


Decided on December 19, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 19, 2024

Before: Kapnick, J.P., Scarpulla, Mendez, O'Neill Levy, Michael, JJ. 


Ind No. 1018/15 Appeal No. 3301 Case No. 2018-3260 

[*1]The People of the State of New York, Respondent,
vRichard Williams, Defendant-Appellant.


Jenay Nurse, Center for Appellate Litigation, New York (Benjamin Rutkin-Becker of counsel), for appellant.



Judgment, Supreme Court, Bronx County (Michael Gross, J.), rendered May 3, 2017, convicting defendant, upon his plea of guilty, of attempted criminal possession of a weapon in the second degree, and sentencing him to a jail term of one year, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and fees imposed on defendant at sentencing, and otherwise affirmed.
Based on our own interest of justice powers, we vacate the surcharge and fees imposed on defendant at sentencing (see People v Diallo,  AD3d , 2024 NY Slip Op 05498 [1st Dept 2024]; People v Chirinos, 190 AD3d 434 [1st Dept 2021]). We note that the People do not oppose the granting of this relief. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 19, 2024








